Case 5:20-cv-02636-JLS-SHK      Document 12     Filed 01/21/21   Page 1 of 9 Page ID
                                      #:56


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 4 KNEZ LAW GROUP, LLP
   6780 Indiana Ave., Suite 150
 5 Riverside, CA 92506
   Telephone: (951) 742-7681
 6 Facsimile: (951) 742-7681
 7
     Attorneys for Plaintiff, JACOB LEE GAMBLE
 8
                          UNITED STATES DISTRICT COURT
 9
          CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
10
11    JACOB LEE GAMBLE,                        CASE No.: 5:20-cv-02636 JLS (SHKx)
12                      Plaintiff,
                                               DECLARATION OF ANDREW J.
13         v.                                  KNEZ REGARDING ORDER TO
                                               SHOW CAUSE RE DISMISSAL
14    BANK OF AMERICA                          FOR LACK OF PROSECUTION
15
      CORPORATION, a Delaware
      Corporation; G4S SECURE
16
      SOLUTIONS, a Florida Corporation;
      and DOES 1 through 50, inclusive,
17                      Defendants.
18
19         1.    I am an attorney licensed to practice law in the State of California and
20
     attorney of record for Plaintiff, JACOB GAMBLE. The facts set forth herein below
21
22 are of my own personal knowledge and if called upon to do so, I could and would
23
     competently testify to them.
24
25         2.    The Complaint in this matter was filed in Riverside Superior Court on

26 October 29, 2020 and my office effected service of both Defendants on November
27
     23, 2020. Defendant, G4S shortly thereafter removed the case to Federal Court,
28

       DECLARATION OF ANDREW J. KNEZ REGARDING ORDER TO SHOW CAUSE RE DISMISSAL
                               FOR LACK OF PROSECUTION

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 1 Central District. We have been contacted by counsel for Bank of America and they
 2 have requested an extension up to and including January 27, 2021 to file a
 3
     responsive pleading because G4S has tendered a defense for Defendant, Bank of
 4
 5 America and they are finalizing their agreement. Attached as Exhibit A are true and
 6
     correct copies of the email exchanges between counsel and I regarding the
 7
 8 extension. If G4S and Bank of America do not file a response pleading by January
 9
     27, 2021, my office will file a Request to Enter Default. Therefore, Plaintiff
10
     respectfully request the Court vacate the OSC re dismissal for lack of prosecution.
11
12         I, Andrew J. Knez, Esq. declare under penalty of perjury under the laws of
13
     the State of California that the forgoing is true and accurate.
14
15
16
     Dated: January 21, 2021                 /s/ Andrew J. Knez
17                                           ANDREW J. KNEZ, ESQ.
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       DECLARATION OF ANDREW J. KNEZ REGARDING ORDER TO SHOW CAUSE RE DISMISSAL
                               FOR LACK OF PROSECUTION

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                                   #:58




                       EXHIBIT “A”
Case 5:20-cv-02636-JLS-SHK                           Document 12                 Filed 01/21/21              Page 4 of 9 Page ID
                                                           #:59

 From:                   Elizabeth Schaus
 To:                     Andrew Knez (andrewknez@knezlaw.com)
 Cc:                     info; Mary Hayes (maryhayes@knezlaw.com); "Morris, Ashley R."; Michael D. Hirsch; "CA_44_034 CorVel
                         Corporation _ Jacob Lee Gamble v_ Bank of America Corporation_ G4S Secure E_mail"
 Subject:                RE: Gamble v. Bank of America, et al.-[Extension re: BofA responsive pleading] [CE-DOCS.FID48462]
 Date:                   Tuesday, January 19, 2021 3:41:34 PM


 Mr. Knez,

 This will memorialize the final extension granted by your office to January 27, 2021 for BofA to file a
 responsive pleading. Thank you for the professional courtesy.

 As I advised Mary of your office, G4S has accepted BofA’s tender of defense and indemnity. Ashley
 Morris of Wilson Elsner, who also represents G4S, will be taking over BofA’s defense in this matter.
 Thank you.




 Elizabeth Schaus | Christensen Hsu Sipes LLP
 1629 Cravens Ave. | Torrance, CA 90501
 C 818 517 4001 | D 310 222 5750 | O 310 222 8607
 elizabeth@chs.law | www.chs.law

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 From: Andrew Knez (andrewknez@knezlaw.com) <andrewknez@knezlaw.com>
 Sent: Thursday, December 31, 2020 11:05 AM
 To: Elizabeth Schaus <elizabeth@chs.law>
 Cc: info <info@knezlaw.com>; Lucy Oyos <lucy@chs.law>; Michael D. Hirsch <mike@chs.law>;
 'CA_44_034 CorVel Corporation _ Jacob Lee Gamble v_ Bank of America Corporation_ G4S Secure
 E_mail' <{F48462}.DOCS@9703f.imanage.work>
 Subject: RE: Gamble v. Bank of America, et al.-[Extension re: BofA responsive pleading] [CE-
 DOCS.FID48462]


 **CAUTION** External Email

 Hi Ms. Schaus,

 Extension granted.

 Best regards,
Case 5:20-cv-02636-JLS-SHK                          Document 12                Filed 01/21/21              Page 5 of 9 Page ID
                                                          #:60


 Andrew J. Knez
 Attorney at Law
 6780 Indiana Ave., Suite 150
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 From: Elizabeth Schaus <elizabeth@chs.law>
 Sent: Thursday, December 31, 2020 8:57 AM
 To: Andrew Knez (andrewknez@knezlaw.com) <andrewknez@knezlaw.com>
 Cc: info <info@knezlaw.com>; Lucy Oyos <lucy@chs.law>; Michael D. Hirsch <mike@chs.law>;
 'CA_44_034 CorVel Corporation _ Jacob Lee Gamble v_ Bank of America Corporation_ G4S Secure
 E_mail' <{F48462}.DOCS@9703f.imanage.work>
 Subject: RE: Gamble v. Bank of America, et al.-[Extension re: BofA responsive pleading] [CE-
 DOCS.FID48462]

 Good morning Mr. Knez,

 We have recently been informed that BofA’s tender to G4S has been accepted. May we please have
 an additional 2 week extension to January 20, 2021, to file a responsive pleading in order to first iron
 out the details of the tender acceptance?




 Elizabeth Schaus, Esq. | Christensen Hsu Sipes LLP
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                                                           #:61

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 From: Elizabeth Schaus
 Sent: Wednesday, December 16, 2020 4:14 PM
 To: 'andrewknez@knezlaw.com' <andrewknez@knezlaw.com>
 Cc: 'info@knezlaw.com' <info@knezlaw.com>; Lucy Oyos <lucy@chs.law>; Michael D. Hirsch
 <mike@chs.law>; 'CA_44_034 CorVel Corporation _ Jacob Lee Gamble v_ Bank of America
 Corporation_ G4S Secure E_mail' <{F48462}.DOCS@9703f.imanage.work>
 Subject: Gamble v. Bank of America, et al.-[Extension re: BofA responsive pleading] [CE-
 DOCS.FID48462]

 Mr. Knez,

 This will confirm that your office has graciously agreed to extend the deadline for Bank of America,
 N.A. to file a responsive pleading in the above-referenced matter to January 6, 2021. Thank you for
 your professional courtesy in this regard and happy holidays.




 Elizabeth Schaus, Esq. | Christensen Hsu Sipes LLP
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 elizabeth@chs.law | www.chs.law

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                               CERTIFICATE OF SERVICE
 1
 2         I hereby certify that I electronically filed the foregoing with the Clerk of the
 3 Court using the CM/ECF system which will send notification of such filing to the
 4
     Electronic Service List for this Case.
 5
 6
 7   DATED: January 21, 2021                         Respectfully submitted,
 8
                                                     KNEZ LAW GROUP, LLP
 9
10
                                                     BY:_/s/ Andrew J. Knez ________
11
                                                            FRED J. KNEZ
12                                                          ANDREW J. KNEZ
13
                                                            MATTHEW J. KNEZ

14                                                   Attorneys for Plaintiff, Jacob Gamble

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       DECLARATION OF ANDREW J. KNEZ REGARDING ORDER TO SHOW CAUSE RE DISMISSAL
                               FOR LACK OF PROSECUTION

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                                 PROOF OF SERVICE OF DOCUMENT
 1
 2           I am employed in the county of Riverside, State of California. I am over the age of 18 and
     not a party to this action. My business address is 6780 Indiana Ave, Ste 150, Riverside, CA 92506.
 3
 4 A true and correct copy of the foregoing document entitled (specify): DECLARATION OF
     ANDREW J. KNEZ REGARDING ORDER TO SHOW CAUSE RE
 5 DISMISSAL FOR LACK OF PROSECUTION was served (a) on the judge in chambers
 6 in the form and manner required by Civ.L.R. 5-4(a)(3); and (b) in the manner stated below:
 7 1.      TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
   Pursuant to controlling General Fed.R.Civ.P. 58 and 79, the foregoing document will be served by
 8
   the court via NEF and hyperlink to the document. On (date) November 6, 2020, I checked the
 9 CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
   following persons are on the Electronic Mail Notice List to receive NEF transmission at the email
10 addresses stated below:
        • Ashley R. Moris
11
            ashley.morris@wilsonelser.com
12
   2.      SERVED BY UNITED STATES MAIL:
13         On (date) ________________, I served the following persons and/or entities at the last
14 known addresses in this case by placing a true and correct copy thereof in a sealed envelope in the
   United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
15 constitutes a declaration that mailing to the judge will be completed no later than 24hours after the
   document is filed.
16
17 3.      SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
   TRANSMISSION OR EMAIL: Pursuant to F.R.Civ.P.5 and/or controlling LR, on November 6,
18 2020. I served the following persons and/or entities by personal delivery, overnight mail service, or
   (for those who consented in writing to such service method), by facsimile transmission and/or email
19 as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
20 mail to, the judge will be completed no later than 24 hours after the document is filed.
21       • Honorable Judge Josephine L. Staton
22
                            “Service information continued on attached page”
23
     I declare under penalty of perjury under the laws of the United States that the foregoing is true
24   and correct.
25
      January 21, 2021                    Mary K. Hayes                          /s/ Mary K. Hayes
26         Date                           Printed Name                                 Signature

27
28

        DECLARATION OF ANDREW J. KNEZ REGARDING ORDER TO SHOW CAUSE RE DISMISSAL
                                FOR LACK OF PROSECUTION

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Case 5:20-cv-02636-JLS-SHK      Document 12       Filed 01/21/21    Page 9 of 9 Page ID
                                      #:64



                                       Attached Service List
 1
                         Jason Gamble v. Bank of America Corporation, et al.
 2                              Case No.: 5:20-cv-02636 JLS (SHKx)

 3   Ashley R, Moris                                   Attorneys for Defendant G4S
 4   Wilson, Elser, Moskowitz, Edelman & Dicker, LLP
     555 South Flower St. Suite 2900
 5   Los Angeles CA 90071
     P: 213-443-5100
 6   F: 213-443-5101
 7   E: ashley.morris@wilsonelser.com
     Ronald Reagan Federal Building                    Honorable Judge Josephine L Staton
 8   United States Courthouse
     411 West Fourth Street, Ctrm 10A, 10th Fl
 9   Santa Ana, CA, 92701-4516
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      DECLARATION OF ANDREW J. KNEZ REGARDING ORDER TO SHOW CAUSE RE DISMISSAL
                              FOR LACK OF PROSECUTION

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